 

Case 4:12-cr-00191-Y Document 38 Filed 10/31/12 Page 1 of 1 Page|D 72

 

U.S. DISTRICT COURT
NORTHERN DlSTRICT OF TEXAS

 

 

 

 

 

 

 

 

 

IN THE UNITED STATES DISTRICT COURT FILFD
FOR THE NORTHERN DISTRICT OF TEXAS 7 d
FORT WCRTH DIVISION UCT § \ 2052
CLERK, U.S. DISTRICT COURT
UNITED STATES OF Al\/[ERICA § By
§ Deputy
V- § NO. 4212-CR-191-
§
DERREK STEVEN KATES (01) §

CONSENT TO ADMINISTRATION OF GUILTY PLEA AND ALLOCUTION
BY UNITED STATES MAGISTRATE JUDGE

I, Derrek Steven Kates, the Defendant in this cause, With the advice and counsel of
my attorney, hereby agree and consent to be advised of my rights and enter a voluntary
plea of guilty before a United States Magistrate Judge. I understand that the plea is
subject to the approval of the United States District Judge, Who retains final decision
making authority over the plea, and that sentencing Will be conducted by the District
Judge.

 

 

Acquiescence in Consent: \ Co nt:
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ey for Defendar( i\efendant

MK

A§istd{lmted States Attorney

ORDER

I, JEFFREY L. CURETON, United States Magistrate Judge for the Northern
District of Texas, find that the Defendant knowingly and voluntarily Waives his right to
enter a guilty plea before the United States District Judge and that he has consented to
proceeding With his plea of guilty before me.

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sIGNED and ENTERED on this 3_L da octo , 2 12.

F . CURETON
UN STATES MAGISTRATE JUDGE

